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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


                                                   )
DELOITTE CONSULTING LLP and                        )
DELOITTE DEVELOPMENT LLC,                          )
                                                   )
                       Plaintiffs,                 )
                                                   ) C.A. No. 23-325-WCB
       v.                                          )
                                                   )
SAGITEC SOLUTIONS, LLC,                            )
                                                   )
                       Defendant.                  )


                     STIPULATION AND ORDER TO EXTEND TIME

       WHEREAS, Defendant Sagitec Solutions, LLC requires additional time to review

Plaintiffs’ Answering Brief in Opposition to Defendant’s Motion to Dismiss for Lack of

Jurisdiction Over the Person, or in the Alternative, Transfer Venue (“Plaintiffs’ Answering

Brief,” D.I. 37) and request redaction of its confidential information;

       WHEREAS, Plaintiffs Deloitte Consulting LLP and Deloitte Development LLC do not

oppose extending the deadline for redactions;

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by the parties,

through their undersigned counsel and subject to the approval of the Court, that the deadline to

file a redacted, public version of Plaintiffs’ Answering Brief (D.I. 37) is extended through and

including Tuesday, August 15, 2023.
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 Dated: August 8, 2023

 SHAW KELLER LLP                             YOUNG CONAWAY STARGATT &
                                             TAYLOR, LLP

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 Attorneys for Plaintiffs                    Attorneys for Defendant
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 Deloitte Development LLC


       IT IS SO ORDERED this 9th day of August, 2023.




                                        __________________________________
                                        WILLIAM C. BRYSON
                                        UNITED STATES CIRCUIT JUDGE
